
*812MEMORANDUM **
Samy Henein and Suppa, Truechi &amp; He-nein (“appellants”) appeal from a district court order affirming the bankruptcy court’s imposition of sanctions for violation of Bankruptcy Rule 9011 in the filing of a disqualification motion. We have jurisdiction pursuant to 28 U.S.C. § 158(d). We review decisions of the bankruptcy court independently without deference to the district court’s determinations. Leichty v. Neary (In re Strand), 375 F.3d 854, 857 (9th Cir.2004). We affirm.
The record indicates that appellants filed their motion for improper purposes, with a dubious legal basis, and without evidentiary support, and, thus, the bankruptcy court did not abuse its discretion by imposing sanctions under Rule 9011. See Marsch v. Marsch (In re Marsch), 36 F.3d 825, 831 (9th Cir.1994) (per curiam) (concluding that the bankruptcy court did not abuse its discretion by imposing sanctions based on the filing’s “flimsy legal basis” and a showing of improper purpose); Leavitt v. Soto (In re Leavitt), 171 F.3d 1219, 1223 (9th Cir.1999) (“The appellate court may affirm the lower court on any ground fairly supported by the record.”).
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.

